Case 1:17-cv-01751-CFC Document 834 Filed 06/07/23 Page 1 of 7 PageID #: 43039




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

 PERSONAL AUDIO, LLC,                     )
                                          )
                    Plaintiff,            )
                                          )
             v.                           ) C.A. No. 17-1751 (CFC)
                                          )
 GOOGLE LLC,                              )
                                          )
                    Defendant.            )

     GOOGLE’S MOTION FOR CLARIFICATION OF CONSTRUCTION
            OF THE “SEQUENCING FILE” LIMITATION

      Google LLC (“Google”) seeks clarification of this Court’s January 6, 2020

construction of “sequencing file” (D.I. 447) in view of the parties’ arguments and

this Court’s ruling on Google’s Motion In Limine No. 2 To Preclude Argument That

More Than One File Can Meet The “Sequencing File” Limitation (“MIL”) at the

Pretrial Conference held on June 1, 2023 (“PTC”).

I.    BRIEF BACKGROUND TO CRYSTALLIZE THE ISSUE ON WHICH
      GOOGLE SEEKS CLARIFICATION

      The issue underlying Google’s MIL was whether Personal Audio (“PA”)

could argue at trial that infringement may be found when a received and stored

“sequencing file” is not used to control playback of each song in a playlist and

respond to control commands; but rather a second file that contains some

information copied from the received file is used to control playback and respond to

commands. D.I. 799-18 (MIL) at 1-2.
Case 1:17-cv-01751-CFC Document 834 Filed 06/07/23 Page 2 of 7 PageID #: 43040




      Google’s MIL was based on the Court’s construction of “sequencing file” as

“a file that is received by the player, stored, and used by the processor to both control

playback of each song in the ordered sequence and respond to control commands.”

D.I. 447 at 3. On its face, this construction requires that the processor use the

received sequencing file to control playback of each song and respond to control

commands. As the Court explained in its Claim Construction Order, for example,

“the player must use the same sequencing file that it downloaded (i.e., received)

when responding to user commands.” Id. at 6.

      Google understands the Court’s comments and ruling at the PTC to be

consistent with its Claim Construction Order in this regard. During the parties’

arguments, for example, the Court stated: “But what I construed was sequencing file.

And I said the sequencing file has to perform, right, all three of the limitations

proposed by Google, one of which is the control. And I said the sequencing file has

to do it.” PTC Tr. at 126:25-127:3. And in issuing its ruling, the Court stated:

“I don’t believe it’s the case that the use of the file precludes the use of another file

to execute the control function. All [the Court] said was that the file had to be used

to control it, but that doesn’t mean it can’t be used with something else. But it must

be used as part of the control. So I’m going to deny the motion in limine.” PTC

Tr. at 130:20-131:4 (emphasis added).




                                           2
Case 1:17-cv-01751-CFC Document 834 Filed 06/07/23 Page 3 of 7 PageID #: 43041




      These statements by the Court appear to be consistent with the Court’s

construction, which requires the processor to use the received sequencing file when

controlling playback of each song and when responding to control commands, even

though the processor may also use “something else” in addition to the received

sequencing file when controlling playback of each song. PTC Tr. at 131:1-3.

Indeed, if this were not the case, the sequencing file would only be received and

stored and would not be used for control as required.

      In its infringement case, however, PA intends to rely on “instances” and

“cases” where the processor does not use the received “sequencing file” when

controlling playback of each song and when responding to control commands. PTC

Tr. at 128:14-17. PA intends to argue that, in those “instances,” infringement occurs

(either literally or by equivalents) when one file is received and stored, some

information from that file is copied into a second file, and only that second file is

used to control playback of each song and respond to control commands. It is these

particular “instances” of purported infringement that Google contends are contrary

to the claim construction, which clearly requires that the same sequencing file

“perform[] all three functions.” PTC Tr. at 126:23-127:10. Indeed, it is precisely

these “instances” of purported infringement that Judge Burke had understood to be

precluded by the Court’s construction of sequencing file: “sequencing file requires




                                         3
Case 1:17-cv-01751-CFC Document 834 Filed 06/07/23 Page 4 of 7 PageID #: 43042




that you can’t use a copy of the sequencing file to control playback and respond to

commands, you have to use the received file.” D.I. 720 at 1-3; D.I. 785.

      Because there appears to remain a dispute between the parties regarding

whether the Court’s claim construction covers these “instances” of purported

infringement, Google brings this request for clarification.

II.   GOOGLE’S REQUEST FOR CLARIFICATION

      As indicated above, Google understands that the Court’s ruling at the PTC

does not change the requirement that the received and stored sequencing file “must

be used” by the processor when controlling playback of each song and responding

to control commands.      PTC Tr. at 131:1-4.       But in view of the continued

disagreements between the parties regarding the proper interpretation of the Court’s

construction (see, e.g., PTC Tr. 126:11-22, 128:14-17), Google requests clarification

that the Court’s claim construction of “sequencing file” precludes infringement

where (i) one “sequencing file” is received and stored, (ii) some information from

that “sequencing file” is copied into a second file, and (iii) the processor uses only

that second file to control playback of a song or respond to control commands.

      Given the centrality of the “sequencing file” to PA’s infringement case,

Google seeks a clarifying construction pursuant to O2 Micro Int’l Ltd. v. Beyond

Innovation Tech. Co., 521 F.3d 1351, 1362 (Fed. Cir. 2008), so that there is no

confusion as to what the jury is deciding with respect to infringement. Specifically,



                                          4
Case 1:17-cv-01751-CFC Document 834 Filed 06/07/23 Page 5 of 7 PageID #: 43043




Google requests that the construction of “sequencing file” be amended to make

unambiguous that the “sequencing file” limitation is not satisfied unless the

processor uses the same received and stored file when it controls playback of each

song and responds to control commands (regardless of whether something else is

also used at that time). Google proposes the following construction: “A file that is

received by the player, stored, and used by the processor to both control playback of

each song in the ordered sequence and respond to control commands. The same file

that was received and stored must be used when the processor controls playback of

each song and when the processor is responding to control commands.”

                                          MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                          /s/ Brian P. Egan

                                          Jack B. Blumenfeld (#1014)
                                          Brian P. Egan (#6227)
OF COUNSEL:                               Cameron P. Clark (#6647)
                                          1201 North Market Street
Melissa J. Baily                          P.O. Box 1347
David A. Perlson                          Wilmington, DE 19899
Antonio R. Sistos                         (302) 658-9200
Jeff Nardinelli                           jblumenfeld@morrisnichols.com
QUINN EMANUEL URQUHART                    began@morrisnichols.com
 & SULLIVAN, LLP                          cclark@morrisnichols.com
50 California Street, 22nd Floor
San Francisco, CA 94111                   Attorneys for Defendant
(415) 875-6600

June 7, 2023




                                         5
Case 1:17-cv-01751-CFC Document 834 Filed 06/07/23 Page 6 of 7 PageID #: 43044




                          RULE 7.1.1 CERTIFICATE

      I hereby certify that the subject of the foregoing motion has been discussed

with counsel for the plaintiff and that we have not been able to reach agreement.



                                      /s/ Brian P. Egan
                                      Brian P. Egan (#6227)
Case 1:17-cv-01751-CFC Document 834 Filed 06/07/23 Page 7 of 7 PageID #: 43045




                           CERTIFICATE OF SERVICE

      I hereby certify that on June 7, 2023, I caused the foregoing to be

electronically filed with the Clerk of the Court using CM/ECF, which will send

notification of such filing to all registered participants.

      I further certify that I caused copies of the foregoing document to be served

on June 7, 2023, upon the following at the email addresses indicated below:

 Brian E. Farnan, Esquire, Esquire                            VIA ELECTRONIC MAIL
 Michael J. Farnan, Esquire
 Rosemary J. Piergiovanni, Esquire
 FARNAN LLP
 919 North Market Street, 12th Floor
 Wilmington, DE 19801
 Attorneys for Plaintiff

 Victor G. Hardy, Esquire                                     VIA ELECTRONIC MAIL
 HARDY, PARISH, YANG, LLP
 10703 Pickfair Drive
 Austin, TX 78750
 Attorneys for Plaintiff

 Douglas Q. Hahn, Esquire                                     VIA ELECTRONIC MAIL
 Salil Bali, Esquire
 Steven M. Hanle, Esquire
 Matthew R. Stephens, Esquire
 Ahmad Takouche, Esquire
 Jason de Bretteville, Esquire
 Lisa Northrup, Esquire
 STRADLING YOCCA CARLSON & RAUTH,
 P.C.
 660 Newport Center Drive, Suite 1600
 Newport Beach, CA 92660
 Attorneys for Plaintiff
                                         /s/ Brian P. Egan
                                         Brian P. Egan (#6227)
